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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                    MDL DOCKET NO. 2924
    PRODUCTS LIABILITY
    LITIGATION                                               Civil Action No. 9:20-MD-2924

                                                      JUDGE ROBIN L. ROSENBERG
                                              MAGISTRATE JUDGE BRUCE REINHART
   _________________________________/

   THIS DOCUMENT RELATES TO:
   Garretson v. Boehringer Ingelheim Pharmaceuticals, Inc. et al., 9:24-cv-80909-RLR

                BRAND DEFENDANTS’ FIFTH CONSOLIDATED MOTION
                            IN RESPONSE TO PTO 84
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                                             INTRODUCTION

           Brand Defendants 1 respectfully request that this Court dismiss with prejudice the case of
                             0F




   one additional plaintiff alleging a Designated Cancer, Garretson v. Boehringer Ingelheim

   Pharmaceuticals, Inc. et al., 9:24-cv-80909-RLR, which was transferred to this Court after May

   5, 2023. Plaintiff Richard Garretson (the “Post-PTO 83 Delinquent Designated Cancer Plaintiff”

   or “Plaintiff”) failed to meet his obligation under Pretrial Order 83 (“PTO 83”) to show cause why

   summary judgment should not be entered in his individual case within two weeks of the date his

   case was filed or transferred to this Court.

                                  PROCEDURAL BACKGROUND

           On May 15, 2023, the Court entered summary judgment in favor of Defendants named in

   every personal injury Designated Cancer case that was filed in this MDL before May 5, 2023. See

   DE 6622. On May 30, 2023, this Court entered PTO 83 requiring all Plaintiffs who file personal

   injury Designated Cancer cases on or after May 5, 2023 to show cause why summary judgment

   should not be entered in their individual cases within “two weeks from the day their case is

   consolidated into this MDL, two weeks from the day Plaintiffs on appeal are remanded back to

   this Court, or two weeks from the date of this Order, whichever is later.” See PTO 83 at 1-2, DE

   6642.

           On August 21, 2023, the Court entered Pretrial Order 84 (“PTO 84”), which ordered

   Defendants to file a consolidated motion on the first business day of each month requesting relief

   based on Plaintiffs’ non-compliance with their show cause obligations under PTO 83. See PTO

   84, DE 6923. Defendants have identified one additional Designated Cancer case that has not



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    Boehringer Ingelheim Pharmaceuticals, Inc., GlaxoSmithKline LLC, Pfizer Inc., Sanofi US
   Services Inc., Sanofi-Aventis U.S. LLC, and Chattem, Inc.


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   shown cause by the respective deadline. Plaintiff’s case was initially filed in the Circuit Court for

   Cook County, Illinois. The case was removed to the Northern District of Illinois on June 6, 2024,

   and then transferred to this Court by the Judicial Panel on Multidistrict Litigation on June 24, 2024.

   See Conditional Transfer Order 127 at 1, DE 7309. The case was docketed in this MDL on July

   26, 2024. See Garretson v. Boehringer Ingelheim Pharmaceuticals, Inc. et al, 9:24-cv-80909-

   RLR, DE 22. Pursuant to PTO 83, Plaintiff had until August 9, 2024 to show cause why summary

   judgment should not be entered in his individual case. See PTO 83 at 1-2, DE 6642. Plaintiff

   failed to show cause by this deadline and thus failed to comply with PTO 83.

                                              ARGUMENT

   I.     DISMISSAL OF CLAIMS WITH PREJUDICE IS WARRANTED FOR A POST-
          PTO 83 DELINQUENT DESIGNATED CANCER PLAINTIFF

          Under Rule 41(b), a district court “may dismiss a claim if the plaintiff fails to prosecute it

   or comply with a court order.” Equity Lifestyle Properties, Inc. v. Fla. Mowing & Landscape

   Serv., Inc., 556 F.3d 1232, 1240 (11th Cir. 2009) (citing Fed. R. Civ. P. 41(b)). “The power to

   invoke this sanction is necessary in order to prevent undue delays in the disposition of pending

   cases and to avoid congestion in the calendars of the District Court.” Id. (internal quotation marks

   omitted). “A district court need not tolerate defiance of reasonable orders.” Id. at 1241. “While

   dismissal is an extraordinary remedy, dismissal upon disregard of an order, especially where the

   litigant has been forewarned, generally is not an abuse of discretion.” Moon v. Newsome, 863 F.2d

   835, 837 (11th Cir. 1989).

          Courts presiding over large, coordinated proceedings like this one require “greater

   discretion to organize, coordinate, and adjudicate [their] proceedings, including the dismissal of

   cases for failure to comply with [their] orders.” In re Guidant Corp. Implantable Defibrillators

   Prod. Liab. Litig., 496 F.3d 863, 867 (8th Cir. 2007); see also In re Phenylpropanolamine (PPA)


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   Prod. Liab. Litig., 460 F.3d 1217, 1227 (9th Cir. 2006); In re Taxotere (Docetaxel) Prod. Liab.

   Litig., 966 F.3d 351, 358 (5th Cir. 2020). In addition, Federal Rule of Civil Procedure 16(f)(1)

   states that “[o]n motion or on its own, the court may issue any just orders, including those

   authorized by Rule 37(b)(2)(A)(ii)-(vii), if a party or its attorney: . . . (C) fails to obey a scheduling

   or other pretrial order.” Fed. R. Civ. P. 16(f). Sanctions available under Rule 37(b)(2)(A)(ii)-(vii)

   include “dismissing the action or proceeding in whole or in part.” Fed. R. Civ. P. 37(b)(2)(A)(v).

   “The same criteria is used for evaluating dismissals under Rules 41(b) and 16(f).” Martins v. Royal

   Caribbean Cruises, Ltd., 429 F. Supp. 3d 1315, 1323 (S.D. Fla. 2019) (quoting Price v.

   McGlathery, 792 F.2d 472, 474 (5th Cir. 1986)).

           Just as the Court found dismissal with prejudice appropriate for the Designated Cancer

   cases where Plaintiffs did not comply with their filing obligations as set forth in PTO 83, this Court

   should also dismiss with prejudice this Post-PTO 83 Delinquent Designated Cancer Plaintiff for

   his failure to comply with the show cause obligation and deadline as set forth in PTO 83. See DE

   6970.

           The record demonstrates that this Post-PTO 83 Delinquent Designated Cancer Plaintiff

   failed to prosecute his claims in this action and failed to timely comply with the Court’s clear

   Order. Therefore, Brand Defendants respectfully request that the Court dismiss this Post-PTO 83

   Delinquent Designated Cancer Plaintiff’s claims in their entirety with prejudice.




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                                      Respectfully submitted,

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                                            Attorney for Defendant Pfizer Inc.




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 3rd day of September, 2024, the foregoing Brand Defendants’

   Fifth Consolidated Motion in Response to PTO 84 was filed electronically through the Court’s

   CM/ECF system, which will send notice of filing to all CM/ECF participants.




                                                      /s/ Anand Agneshwar
                                                      Anand Agneshwar




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